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1     Linda F. Cantor(CA Bar No. 153762)
      James K. T. Hunter(CA Bar No. 73369)
2     PACHULSKI STANG ZIEHL & JONES LLP
      10100 Santa Monica Blvd., 11th Floor
3     Los Angeles, California 90067-4100
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4     Facsimile: 310/201-0760
      E-mail: lcantor@pszjlaw.com
5               ihunter@DSzilaw.com

6     Attorneys for California Hispanic Commission On Alcohol
      and Drug Abuse,Inc.
7

8                                      UNITED STATES BANKRUPTCY COURT

9                                       CENTRAL DISTRICT OF CALIFORNIA
                                               SANTA ANA DIVISION
10

11                                                    Case No.: 16-10424-SC
      In re:

12     CALIFORNIA HISPANIC                            Chapter 11
       COMMISSION ON ALCOHOL AND
13                                                    NOTICE OF MOTION AND MOTION FOR ENTRY
       DRUG ABUSE,INC.,
                                                      OF FINAL DECREE CLOSING CHAPTER 11
14                                  Debtor.           CASE; DECLARATION OF JAMES HERNANDEZ
                                                      IN SUPPORT THEREOF
15
                                                      [No Hearing Required per Local Bankruptcy Rules 3022-
16
                                                      1(a) and 9013-l(o)]
17
                                                      Judge: Honorable Scott C. Clarkson
18
       TO THE HONORABLE SCOTT C. CLARKSON,UNITED STATES BANKRUPTCY
19     JUDGE,THE LITIGATION TRUSTEE,PARTIES THAT HAVE FILED REQUESTS FOR
       SPECIAL NOTICE AND THE OFFICE OF THE UNITED STATES TRUSTEE:
20

21             PLEASE TAKE NOTICE that California Hispanic Commission on Alcohol and Drug
22     Abuse,Inc., the reorganized debtor herein("CHCADA''or the "Reorganized Debtor ), hereby
23     moves this Court(the "Motion")for entry of a final decree closing its chapter 11 case (the "Case").
24     The Motion is made pursuant to section 350 of title 11 ofthe United States Code, 11 U.S.C. §§101,
25     et seq. (the "Bankruntcv Code"), Federal Rule of Bankruptcy Procedure 3022("Bankruptcy Rule
26     3022") and Local Bankruptcy Rule 3022-1(a)on the grounds that(i) CHCADA's chapter 11 plan,
27     confirmed by Order ofthe Bankruptcy Court dated July 31,2017, has been effectuated;(ii) there are
28     no pending adversary proceedings or contested matters, and (iii) the Litigation Trustee has
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1     performed all of his obligations under the Plan and under the Litigation Trust Agreement and
2     Declaration of Trust. Thus, closure ofthe Case is appropriate.

3             PLEASE TAKE FURTHER NOTICE that the Motion is based upon this Notice of Motion

4     and Motion,the attached Memorandum ofPoints and Authorities, the Declaration ofJames
5      Hernandez, and the entire record ofthis Case, of which the Reorganized Debtor requests that the
6      Court take judicial notice.

7             PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-

8      l(o)(l), any interested party opposing the relief requested in this Motion must file a written response
9      and a request for hearing with the Bankruptcy Court and serve a copy of it upon the moving party
10     and the United States Trustee, within fourteen(14) days after the date of service ofthis Notice. The
11     response must include a complete written statement of all reasons in opposition to the Motion, as
12     well as declarations and copies of all documentary evidence on which the responding party intends
13     to rely and any responding memorandum of points and authorities. Pursuant to Local Bankruptcy
14     Rule 9013-1(h), the failure to timely file and serve a written opposition may be deemed by the Court
15     to be consent to the granting ofthe relief requested in the Motion.
16             WHEREFORE,for all the foregoing reasons, the Reorganized Debtor respectfully requests
17     that this Court enter an order(a)authorizing the entry of a Final Decree closing this Case pursuant to
18     Section 350(a) ofthe Bankruptcy Code and Bankruptcy Rule 3022, and (b)granting such other and
19     further relief as is just and appropriate.

20     Dated: October 25,2019                        PACHULSKI STANG ZIEHL & JONES LLP
21
                                                     Bv /s/ Linda F. Cantor
22                                                         Linda F. Cantor
                                                     Attorneys for California Hispanic Commission
23
                                                     On Alcohol and Drug Abuse,Inc.
24

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1                               MEMORANDUM OF POINTS AND AUTHORITIES

2                                                               L


3                                                     INTRODUCTION


4              California Hispanic Commission on Alcohol and Drug Abuse, Inc., the Reorganized Debtor
5      herein, files this Motion for entry ofa final decree closing the above-captioned bankruptcy Case.
6      This Motion is made pursuant to section 350 ofthe Bankruptcy Code, Bankruptcy Rule 3022 and
7      Local Bankruptcy Rule 3022-1(a), upon notice and an opportunity to object pursuant to Local
8      Bankruptcy Rule 9013-l(o). The grounds for the Motion are that CHCADA's chapter 11 plan has
9      been consummated,there are no further matters or proceedings pending or anticipated requiring that
10     the Case remain open, and the Litigation Trustee has performed his obligations under the chapter 11
11     plan in accordance with the terms ofthe Litigation Trust Agreement and Declaration ofTrust.
12     Concurrently upon closure ofthe Case,the Litigation Trust will make its first and final distribution
13     to creditors holding allowed claims, in accordance with the terms of CHCADA's plan.
14                                                              II.

                                                 STATEMENT OF FACTS
15

16     A.       General Background

17              On February 2, 2016,CHCADA filed a voluntary petition for relief under chapter 11 ofthe
18     Bankruptcy Code (the "Petition Date").
19              On November 2,2016,the Debtor filed its Second Amended Chapter 11 Plan Dated
20     November 2,2016(the "Plan")[Docket No. 321].' The Plan was confirmed by order ofthis Court
21     dated July 31,2017[Docket No.444](the "Confirmation Order"). The Plan became effective on
22     July 31,2017(the "Effective Date").
23     B.       Implementation of the Plan

24             The Plan generally provides for(1)the sale ofthe Debtor's real property located at 1419 21®'
25     Street, Sacramento, Califomia(the "Sacramento Propertv")to pay off Wells Fargo Bank's secured
26     claims and certain allowed Administrative Claims,(2)the creation and funding of a Litigation Trust
27     (using cash on hand, real property sale proceeds and the assignment of certain contract cost
28
       'All Plan terms not otherwise defined herein shall have the same meaning as those ascribed in the Plan.
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 1   settlements) to be administered by the Litigation Trustee,(3)the assignment of all estate claims and
2    causes of action, including avoidance actions, to the Litigation Trust for administration by the
3    Litigation Trustee for the benefit of creditors holding allowed claims,(4)the administration of
4    claims against the Debtor's estate by the Litigation Trustee, and (5)the continued operation ofthe
5    Debtor's business post-confirmation.^
6             The Litigation Trust was established on or about the Effective Date pursuant to the terms of
7    the Litigation Trust Agreement and Declaration of Trust, with Thomas H. Casey serving as
8    Litigation Trustee. The assets assigned to the Litigation Trust as ofthe Effective Date were(a)
9    $100,000,(b)causes of action against Drive Right Interlock Systems, Drager Safety Diagnostics and
10   Long Term Care Properties,(c)potential avoidance actions for unauthorized post-petition transfers,
11   and (d) potential claims, avoidance actions and other causes ofaction against the Debtor's directors
12   and officers and the Debtor's D&O Policy. Following the close of sale of the Sacramento Property

13   on June 5, 2018,the Litigation Trust received an additional funding in the amount of$153,835.47
14   from the sale proceeds.^
15             The Litigation Trustee, with the assistance ofcounsel approved by the Court, investigated
16   claims and causes of action held by the Debtor's estate. The Litigation Trustee resolved the two

17   adversary proceedings that were pending in the Case on the Effective Date:(i) a non-dischargeability
18   action filed by the County of Orange against the Debtor(Adv. Proc. No. 8:17-ap-01053-SC)(the
19   ^'Orange Countv Litigation"): and (ii) an avoidance action filed by the Debtor to recover an alleged

20   voidable post-petition transfer against Long Term Care Properties(Adv. Proc. No. 8:17-ap-01025-
21   SC)(the "LTC Litigation")."* The deadline to file avoidance actions passed on February 1, 2018, and
22   no additional claims or causes of action were pursued by the Litigation Trust. The Litigation Trustee
23   reviewed claims and filed motions objecting to certain claims and requesting their disallowance or
24   reduction (the "Claim Motions"). All Claim Motions have now been resolved.^
25

26   ^ The foregoing is a general summary ofthe Plan only and in all events, the terms ofthe Plan control.
     ^ See Fourth Post-Confirmation Status Report[Dkt. No.729] filed by the Litigation Trustee July 11, 2019, and other post
27   confirmation reports filed in the Case.
     '' See Stipulationfor Entry ofJudgment[Dkt. No. 17 in the Orange County Litigation] and Order on Stipulation to Resolve and
28   Dismiss Adversary Proceeding [Dkt. No. 26 in the LTC Litigation].
     ® Fourth Post-Confirmation Status Report at pages 2-3.

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1              The Reorganized Debtor has continued to operate its business, file quarterly operating reports
2      and pay quarterly fees to the Office ofthe United States Trustee.^ The only remaining asset to be
3      administered is cash in the Litigation Trust and upon closing ofthe case,the Litigation Trust will
4      make a first and final distribution to holders of allowed claims pursuant to the terms ofthe Plan.

5                                                         III.


6                                                    ARGUMENT


7      A.      The Court Mav Close The Case When The Estate Is Fully Administered
8              Section 350(a)ofthe Bankruptcy Code provides that "[a]fler an estate is fully administered .
9     .. the court shall close the case." 11 U.S.C. § 350(a). Bankruptcy Rule 3022 implements section
10     350(a)ofthe Bankruptcy Code in the context ofchapter 11 reorganizations: "[a]fter an estate is fully
11     administered in a chapter 11 reorganization case,the court, on its own motion or on motion ofa
12     party in interest, shall enter a final decree closing the case." Fed. R. Bankr. P. 3022.
13     B.      The Estate Has Been Fuilv Administered
14             The term "fully administered" is not defined in the Bankruptcy Code, however,the Advisory
15     Committee Note to Bankruptcy Rule 3022 lists the following six factors for a court to consider when
16     making the determination of whether an estate has been fully administered:
17              1.       whether the order confirming the plan has become final;

18              2.       whether deposits required by the plan have been distributed;
19              3.       whether the property proposed by the plan to be transferred has been transferred;
20              4.        whether the debtor or the successor ofthe debtor under the plan has assumed the
21     business or the management ofthe property dealt with by the plan;
22              5.        whether payments under the plan have commenced; and
23              6.        whether all motions, contested matters, and adversary proceedings have been finally
24     resolved.

25     Fed. R. Bankr. P. 3022 Advisory Committee Note (1991).

26              In this instance, the applicable factors have been satisfied. Specifically:
27             •          Factor 1: The Plan has been confirmed and the Confirmation Order is a final order.
28
         Hernandez Declaration at para 4.

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1              •         Factors 2: No deposits were required by the Plan.

2              •         Factor 3: All property proposed by the Plan to be transferred to the Litigation Trust
3      has been transferred.^

4              •         Factor 4: The property transferred to the Litigation Trust has been administered by
5      the Litigation Trustee. The remaining property of the estate vested in the Reorganized Debtor, as
6      specified in the Plan, and the Reorganized Debtor assumed management ofthe property dealt with
7      by the Plan.

8              •          Factor 5: Payments under the Plan have commenced. The Reorganized Debtor paid
9      the Allowed Administrative Claim of its legal counsel in accordance with the terms oftheir
10     agreement. The Secured Claim of Wells Fargo Bank was paid upon the closing ofsale ofthe
11     Sacramento Property. Upon information and belief, the Litigation Trustee will make a first and final
12     distribution to holders of Allowed General Unsecured Claims concurrently with the closing ofthe
13     Case.

14             •          Factor 6: There are no pending motions, contested matters or adversary proceedings
15     in this Case.

16     C.       The Court Retains Jurisdiction after the Entry of the Final Decree Closing of the Case
17              In addition to the Plan imparting the Court with post-confirmation jurisdiction, the United
18     States Court of Appeals for the Ninth Circuit has held that a bankruptcy court has post-confirmation
19     jurisdiction if a matter has a close nexus to the bankruptcy plan or proceeding. Matters affecting the
20     interpretation, implementation, consummation,execution, or administration ofthe confirmed plan
21     will typically have the requisite close nexus. See State ofMontana v. Goldin (In re Pegasus Gold
22     Corp.), 394 F.3d 1189, 1194 (9^'^ Cir. 2005).
23      D.       Payment of Quarterly OUST Fees

24              The Reorganized Debtor has filed all reports and has paid all United States Trustee fees due
25     and owing through the third quarter of2019.^ As such,the Case is fully administered. The
26

27     ^ Although contract cost settlements were assigned to the Litigation Trust, none were received by the Reorganized Debtor. See
       attached Declaration of James Hernandez(the "Hernandez Declaration").
28     ^ Hernandez Declaration at para 4. To the extent that any further fees are owing, the Reorganized Debtor will tender such fees to the
       Office ofthe United States Trustee. Id.

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1     Reorganized Debtor, therefore, submits that the requirements to obtain a final decree closing the
2      Case have been met.

3                                                      IV.


4                                               CONCLUSION


5             For all ofthe foregoing reasons and as set forth in the attached Declaration of James
6      Hernandez,the Reorganized Debtor respectfully requests that the Court grant the Motion and issue
7      an order(a) authorizing the entry of a Final Decree closing this Case pursuant to section 350(a)of
8      the Bankruptcy Code and Bankruptcy Rule 3022,and(b)granting such further and other relief that
9      is just and proper under the circumstances.
10      Dated: October 25,2019                       PACHULSKI STANG ZIEHL & JONES LLP
11
                                                     By:     /s/Linda F. Cantor
12                                                           Linda F. Cantor
                                                             Attorneys for California Hispanic
13                                                           Commission On Alcohol and Drug Abuse,
                                                             Inc., the Reorganized Debtor
14

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 1                                    DECLARATION OF JAMES HERNANDEZ

2             I, James Hernandez, declare:

3             1.       I am the Executive Director ofthe Reorganized Debtor California Hispanic

4     Commission on Drug and Alcohol Abuse,Inc.("CHCADA" or the "Reorganized Debtor"^ I make

5     this declaration in support ofthe Motionfor Entry ofFinal Decree Closing Chapter 11 Case (the

6    "Motion"). Capitalized terms not otherwise defined in this Declaration have the meanings given

7     them in the Motion.

8             2.       Except as otherwise stated, all facts contained within this Declaration are based upon

9    personal knowledge(my own or that gathered from my professionals and others that work under my
10   supervision relating to the Reorganized Debtor) or my review of relevant documents. If called upon

11   to testify, I would testify to the facts set forth in this Declaration.

12            3.        The Plan generally provides for(1)the sale ofthe Debtor's real property located at

13    1419 21®^ Street, Sacramento, California to pay off Wells Fargo Bank's secured claims and certain

14    allowed Administrative Claims,(2)the creation and funding of a Litigation Trust(using cash on

15    hand, real property sale proceeds and the assignment of certain contract cost settlements) to be

16    administered by the Litigation Trustee,(3)the assignment of all claims and causes of action,
17    including avoidance actions, held by the Debtor to the Litigation Trust for administration by the
18    Litigation Trustee for the benefit ofcreditors holding allowed claims,(4)the administration of
19    claims against the Debtor's estate by the Litigation Trust, and(5)the continued operation ofthe
20    Debtor's business post-confirmation.^
21            4.        In accordance with the Plan, the Reorganized Debtor has continued to operate its

22   business, file quarterly operating reports and pay quarterly fees to the Office ofthe United States
23   Trustee. The Reorganized Debtor prepared and submitted its most recent Post-Confirmation Status
24   Report for the Quarter ending September 30,2019, and mailed in a payment to the Office ofthe
25   United State Trustee in the amount of$16,239.98 on October 11, 2019. To the extent that any

26   additional fees are owing,I will cause the Reorganized Debtor to tender such fees to the Office of
27   the United States Trustee.

28
     ^ Although cost settlements were assigned to be assigned to the Litigation Trust under the Plan, none were received by CHCADA.

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           1                 5.     I caused the Reorganized Debtor to pay a portion ofthe Allowed Administrative

           2       Claim of bankruptcy counsel from cash on the Effective Date, pursuant to the agreement with
           3       counsel,and an additional amount upon closing of the Sacramento Property. The Secured Claim of
           4       Wells Fargo Bank was paid upon the closing ofsale ofthe Sacramento Property and I caused the
           5       Reorganized Debtor to fund the Litigation Trust in the amounts set forth in the Motion. I am
           6       informed and believe that concurrently upon closure ofthe Case,the Litigation Trust will make its
           7       first and final distribution to creditors holding allowed claims,in accordance with the terms ofthe
           8       Plan.

           9                 6.     I understand that the legal requirements for closure of the Case have been met,as set

          10       forth in the Motion, and therefore granting ofthe Motion is appropriate. Moreover, closing the Case
          11       at this time will lessen the financial burden on the Reorganized Debtor, which is a not-for-profit
          12       entity.
z

° 5
          13                 I declare under penalty of perjury under the laws ofthe State of California and the United
o X Z
          14       States of America that the foregoing is true and correct.
Z M

Ig?
2     3
          15                 Executed this         day of October,2019, at Sacramentorealifbsnia.

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                                                                                  ANDE
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               I
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1
                                   PROOF OF SERVICE OF DOCUMENT
2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
3    address is: 10100 Santa Monica Blvd., 13*"^ Floor, Los Angeles, CA 90067

4    A true and correct copy of the foregoing document entitled NOTICE OF MOTION AND MOTION FOR ENTRY
     OF FINAL DECREE CLOSING CHAPTER 11 CASE; DECLARATION OF JAMES HERNANDEZ IN
5    SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
     required by LBR 5005-2(d): and (b) in the manner stated below:
6
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF). Pursuant to controlling
7    General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
     document. On October 25. 2019. 1 checked the CM/EOF docket for this bankruptcy case or adversary
8    proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
     transmission at the email addresses stated below:
9
                                                       13       Service information continued on attached page
10
     2. SERVED BY UNITED STATES MAIL:
11   On October 25.2019. 1 served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
12   the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
     constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
13   is filed.


14
                                                       3            Service information continued on attached page

15
     3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL
     fstate method for each person or entitv served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October
16   25.2019. 1 served the following persons and/or entities by personal delivery, overnight mail service, or (for
     those who consented in writing to such service method), by facsimile transmission and/or email as follows.
17   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
     completed no later than 24 hours after the document is filed.
18
     Via Federal Express
19   Honorable Scott C. Clarkson
     U.S. Bankruptcy Court - Central District of California             Santa Ana Division
20   Ronald Reagan Federal Building and Courthouse
     411 West Fourth Street, Suite 5130 / Courtroom 5C
21   Santa Ana, CA 92701-4593
                                                        □           Service information continued on attached page
22   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
      October 25, 2019                  Janice G. Washington                  /s/Janice G. Washington
23                                                                                     Signature
       Date                                 Printed Name

24

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1      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING(NEF):
       Bert Briones on behalf of Interested Party Bert                         Victoria Newmark on behalf of Debtor
2                                                                              California Hispanic Commission on Drug and
       Briones
       ecfmailonly@gmail.com,                                                  Alcohol Abuse
3      bb@redhilllawgroup.com                                                  vnewmark@pszjlaw.com
4                                                                              R G Pagter, Jr. on behalf of Creditor Long
       Thomas H Casey(TR)
       msilva@tomcaseylaw.com,                                                 Term Care Properties, Inc.
5                                                                              gibson@ppilawyers.com,
       thc@trustesolutions.net
                                                                               ecf@ppilawyers.com
6
       Alberto J Campain on behalf of Creditor 2309
       Daly Street, Inc.                                                       R G Pagter, Jr. on behalf ofInterested Party
7                                                                              Courtesy NEF
       campain@ecofflaw.com, kay@ecofflaw.com
                                                                               gibson@ppilawyers.com,
8
       Linda F Cantor, ESQ on behalf of Debtor                                 ecf@ppilawyers.com
       California Hispanic Commission on Drug and
9                                                                              Dean G Rallis, Jr on behalf of Interested Party
       Alcohol Abuse
       lcantor@pszjlaw.com, lcantor@pszjlaw.com                                Dean G. Rallis Jr.
10                                                                             drallis@afrct.com,
       Andy J Epstein on behalf ofInterested Party                             msinclair@afrct.com;AFRCTECF@afrct.com
11
       Andy Epstein                                                            ;mpham@afrct.com
       taxcpaesq@gmail.com
12                                                                             Michael R Totaro on behalf of Debtor
       Nancy S Goldenberg on behalf of U.S. Trustee                            California Hispanic Commission on Drug and
13                                                                             Alcohol Abuse
       United States Trustee(SA)
       nancy.goldenberg@usdoj.gov                                              Ocbkatty@aol.com
14
       Randall P Mroczynski on behalf of Creditor                              United States Trustee(SA)
15
       Ford Motor Credit Company LLC                                           ustpregionl6.sa.ecf@usdoj.gov
       randym@cookseylaw.com
16                                                                             John H Wunsch on behalf of Creditor Wells
       Randall P Mroczynski on behalf ofInterested                             Fargo Bank, National Association
17
       Party Courtesy NEF                                                      bankruptcycls@wellsfargo.com,
       randym@cookseylaw.com                                                   wunschjh@wellsfargo.com
18

19

20

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           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Califomia.
                                                                                  F 9013-3.1.PROOF.SERVICE
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1     2. TO BE SERVED BY THE COURT VIA UNITED STATES MAIL:
       Office of US, Trustee                                                   Counselfor Long Term Care Properties)Inc,
2                                                                              R. GIBSON PAGTER,JR.,PAGTER AND
       Nancy Goldenberg
      411 West Fourth Street                                                   PERRY ISAACSON
3                                                                              525 N Cabrillo Park Dr, Suite 104
      Suite 7160
       Santa Ana, CA 92701-8000                                                Santa Ana, California 92701
4
       Office ofthe U.S. Trustee - LA                                          Requestfor Special Notice
5                                                                              John H. Wunsch(SBN 133853)
       915 Wilshire Blvd., Suite 1850
       Los Angeles, CA 90017-3560                                              Office ofthe General Counsel
6                                                                              Wells Fargo & Company
       Debtor                                                                  21680 Gateway Center Drive, Suite 280
7                                                                              Diamond Bar, California 91765-2435
       California Hispanic Commission on Drug and
       Alcohol Abuse
8                                                                              Office of County Counsel
       1419 21st Street
       Sacramento, CA 95811-5208                                               Attn.: James C. Harman, Assistant
9                                                                              333 West Santa Ana Boulevard, Suite 407
       SEC                                                                     Post Office Box 1379
10                                                                             Santa Ana, CA 92702-1379
       Los Angeles Regional Office
       Michele Wein Layne
11
       Regional Director
       444 South Flower Street, Suite 900
12
       Los Angeles, CA 90071
13
       Counsel to Thomas H, Casey)
       Litigation Trustee
14
       Jeffrey K. Garfmkle
       Mirco J. Haag
15     Buchalter
       A Professional Corporation
16
       18400 Von Karman Avenue
       Suite 800
17     Irvine, California 92612-1121
18
       Turton Commercial Real
       2409 L Street, Ste. 200
19     Sacramento, CA 95816-5025
20
       Office ofthe Attorney General of CA
       1300 1 Street
21     Sacramento, CA 95814-2963
22
       Totaro & Shanahan
       P.O. Box 789
23
       Pacific Palisades, CA 90272-0789
24     Attorneysfor California Physicians* Service)
       dba Blue Shield ofCalifornia
25
       Michael B. Reynolds
       Snell& WilmerL.L.P.
26
       600 Anton Boulevard, Suite 1400
       Costa Mesa, CA 92626-7689
27

28
           This form Is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                                  F 9013-3.1.PROOF.SERVICE
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1     20 Largest Unsecured Claims                                              INTERNAL REVENUE SERVICE
      Long Term Care Properties                                                P.O. BOX 7346
2     7 Corporate Plaza                                                        PHILADELPHIA,PA 19101-7346
      Newport Beach, CA 92660
3                                                                              Alliance Member Services
       Lilia(Lily) Ojanco-Bracco                                               P.O. Box 49050
4      216 Gainsborough Circle                                                 San Jose, CA 95161-9050
       Folsom, CA 95630-1811
5                                                                              PACIFIC COAST HOLDING INVEST
       Blue Shield of California                                               6800 INDIANA AVE.,#130
6      Attn: NoraOalicia                                                       Riverside, CA 92506-4266
       4203 Town Center Drive
7      El Dorado Hills, CA 95762-7100                                          COVERALL NORTH AMERICA,INC.
                                                                               2955 MOMENTUM PLACE
8      American Express                                                        CHICAGO,IL 60689-5329
       P.O. Box 0001
9      Los Angeles, CA 90096-8000                                              PACIFIC RIM PRINTER AND MAILER
                                                                               5760 HANNUM AVENUE
10     NGN PROFIT UNITED WORKERS COMP                                          CULVER CITY,CA 90230-6501
       610 FULTON AVE.,STE 200
11     SACRAMENTO,CA 95825-4867                                                 Law Offices ofEmilio J. Huerta
                                                                                P.O. Box 2244
12     Lewitt, Hackman, Shapiro,                                                Bakersfield, CA 93303
         Marshall & Harlan
13     16633 Ventura Boulevard, Suite 1100
       Encino, CA 91436-1801
14
       Sierra Inn
15     1171 N. Durfee Avenue
       S. El Monte, CA 91733
16
       HOME DEPOT CREDIT SERVICES
17     DEPT. 32-2149092011
       P.O. BOX 183175
18     COLUMBUS,OH 43218-3175

19     Home Depot Credit Services
       P.O. Box 183175
20     Dept. 32-2149092011
       Columbus, OH 43218-3175
21
       Pasada(Pasadena) Hotel
22     3625 E. Colorado Blvd.
       Pasadena, CA 91107
23
       CLINIVATE
24     115 CALIFORNIA BLVD.,SUITE 156
       PASADENA,CA 91105-3005
25
       Premier Access Insurance Co.
26     Dept. #34114
       P.O. Box 39000
27     San Francisco, CA 94139

28
           This form Is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                                  F 9013-3.1.PROOF.SERVICE
       DOCS LA:325273.1 12548/001
